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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA,
Case No. 4:15-cr-102-15
Plaintiff,
STIPULATION FOR RESTITUTION
Vv.
MELINDA BULGIN,
Defendant.

 

The United States of America, by its attorneys, Drew H. Wrigley, United States
Attorney for the District of North Dakota, and Jonathan J. O'Konek, Assistant United
States Attorney; together with the Defendant, Melinda Bulgin, and her attorney Chad R.
McCabe, (“the parties”) stipulate and agree as follows:

I. The parties agree that the Defendant shall pay restitution in the sum of $333,251.00
in this case.
2. Restitution payments shall be made to the Clerk of Court, United States District

Court, P.O. Box 1193, Bismarck, ND 58502-1193.

Dated this i day of Wie, 2019
A 0nd Dl
LINDA BULGIN]
Defendant
Case 4:15-cr-00102-DLH Document 635 Filed 06/12/19 Page 2 of 2

Dated this || day of Sung, 2019

 

 

R)JMCCABE
Attot for Defendant

ath —
Dated this 16" day of JU 2019

 

JONATHAN J. O'KONEK
Assistant United States Attorney
